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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

             THOMAS MORE LAW CENTER,                                )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
     KAMALA HARRIS, in her Official Capacity as                     )
          Attorney General of California,                           )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KAMALA HARRIS, in her Official Capacity as Attorney General of California
                                           1300 I Street
                                           P.O. Box 903447
                                           Sacramento, CA 94203-4470




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Louis Castoria, Esq.
                                           Sheila Pham, Esq.
                                           Kaufman Dolowich and Voluck LLP
                                           425 California Street, Suite 2100
                                           San Francisco, CA 94015


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             04/23/2015
                                                                                         Signature of Clerk or Deputy Clerk
